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				IN RE RULES OF THE SUPREME COURT FOR MANDATORY CONTINUING LEGAL EDUCATION2024 OK 73Case Number: SCBD-7740Decided: 10/14/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 73, __ P.3d __

				
IN RE: Rules of the Supreme Court for Mandatory Continuing Legal Education [Rule 2(c); Rule 6(e)
ORDER
This matter comes on before this Court upon an Amended Application to Amend Rule 2(c) and Rule 6(e) of the Rules of the Supreme Court for Mandatory Continuing Legal Education (hereafter "Rules"), 5 O.S. ch. 1, app. 1-B as proposed and set out in "Exhibit A" attached hereto.
The Court finds that it has jurisdiction over this matter and Rules2(c) and 6(e) are hereby amended as set out in Exhibit A attached hereto, effective January 1, 2025.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 14th day of OCTOBER, 2024.
/S/CHIEF JUSTICE
Kane, C.J., Rowe, V.C.J., Winchester, Edmondson, Combs, Gurich, Darby and Kuehn, JJ., concur;
Kauger, J., not voting.
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"Exhibit A"
THE RULES OF THE SUPREME COURT OF OKLAHOMA
FOR
MANDATORY CONTINUING LEGAL EDUCATION
RULE 2(c). SCOPE AND EXEMPTIONS
Judges who, during the entire reporting period, are by Constitution, law or regulation prohibited from the private practice of law, members of the United States Congress, members of the Oklahoma Legislature, the Attorney General of the State of Oklahoma, members of the armed forces on full-time active duty, and members of the Board of Governors of the Oklahoma Bar Association, members of the Professional Responsibility Commission, and members of the Professional Responsibility Tribunal, and The Oklahoma Bar Journal Board of Editors during their year(s) of service, shall be exempt from the educational requirements of these rules.
RULE 6(e)
A suspended member who does not file an application for reinstatement within one (1) year from the date the member is suspended by the Supreme Court for noncompliance with the Rules for Mandatory Continuing Legal Education, shall cease automatically to be a member of the Association, and the Board of Governors shall file an application with the Supreme Court recommending the member be stricken from the membership rolls. Subsequent to the Order of the Court, if the attorney desires to become a member of the Association within two years, the attorney shall be required to file with the Professional Responsibility Commission an affidavit by the attorney and a certificate from the MCLEC indicating compliance with the Rules for Mandatory Continuing Legal Education for the year suspended for noncompliance with MCLE, including payment of all fees and charges, and the attorney must comply with Rule 11 of the Rules Governing Disciplinary Proceedings of the Oklahoma Bar Association, unless otherwise ordered by the Supreme Court of Oklahoma. If the attorney desires to become a member of the Association after two years and a day, the attorney shall be required to file with the Professional Responsibility Commission an affidavit by the attorney and a certificate from the MCLEC indicating completion of 24 CLE credits, including 2 legal ethics credits, two years required credit, including payment of all fees and charges, and the attorney must comply with Rule 11 of the Rules Governing Disciplinary Proceedings of the Oklahoma Bar Association, unless otherwise ordered by the Supreme Court of Oklahoma.


"Exhibit A"
THE RULES OF THE SUPREME COURT OF OKLAHOMA
FOR
MANDATORY CONTINUING LEGAL EDUCATION
RULE 2(c). SCOPE AND EXEMPTIONS
Judges who, during the entire reporting period, are by Constitution, law or regulation prohibited from the private practice of law, members of the United States Congress, members of the Oklahoma Legislature, the Attorney General of the State of Oklahoma, members of the armed forces on full-time active duty, and members of the Board of Governors of the Oklahoma Bar Association, members of the Professional Responsibility Commission, members of the Professional Responsibility Tribunal, and The Oklahoma Bar Journal Board of Editors during their year(s) of service, shall be exempt from the educational requirements of these rules.
RULE 6(e)
A suspended member who does not file an application for reinstatement within one (1) year from the date the member is suspended by the Supreme Court for noncompliance with the Rules for Mandatory Continuing Legal Education, shall cease automatically to be a member of the Association, and the Board of Governors shall file an application with the Supreme Court recommending the member be stricken from the membership rolls. Subsequent to the Order of the Court, if the attorney desires to become a member of the Association within two years, the attorney shall be required to file with the Professional Responsibility Commission an affidavit by the attorney and a certificate from the MCLEC indicating compliance with the Rules for Mandatory Continuing Legal Education for the year suspended for noncompliance with MCLE, including payment of all fees and charges, and the attorney must comply with Rule 11 of the Rules Governing Disciplinary Proceedings of the Oklahoma Bar Association, unless otherwise ordered by the Supreme Court of Oklahoma. If the attorney desires to become a member of the Association after two years and a day, the attorney shall be required to file with the Professional Responsibility Commission an affidavit by the attorney and a certificate from the MCLEC indicating completion of two years required credit, including payment of all fees and charges, and the attorney must comply with Rule 11 of the Rules Governing Disciplinary Proceedings of the Oklahoma Bar Association, unless otherwise ordered by the Supreme Court of Oklahoma.
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	Citationizer© Summary of Documents Citing This Document
	
	
		
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	Title 5. Attorneys and the State Bar

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5 O.S. Rule 2, 
Scope and Exemptions
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	Citationizer: Table of Authority
	
	
		
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	None Found.
	
	








				
					
					
				

		
		






	
		
			
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